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EXHIBIT B

 
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EXHIBIT A - WORK ORDER

Contractor: Konstantyn Bagaev

Start Date Under Agreement: January 1", 2016

Term of Work Order: One Year, with ability to extend as the parties agree.
Time Commitment: Contractor shall dedicate at minimum
75% of Contractor's business time, energy and attention to

the business and affairs of the Company.

Rate of Payment: $2,000 per month, pro rata for any work due within 30 days of receipt
of invoice,

Scope of Services: Act on behalf of Client in the capacity of Work for Hire / Consultant
working on various projects included but not limited to
ChannelReply API Connection CarPartKings

By: IP Bagaev Konstantin
Konstantyn Bagaev
UI Mira d 59 k3 kv 138
Jeleznogorsk 307178
Russia

Registration Number: 315463300002436

Signed: Date:

Agreed and Accepted by Konstantyn Bagaev

By: NDAP, LLC. (Company)

Rep; mony
By: —_— Date: 1/1/2016

C/ ~~

 
